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     Fill In lhl' lnrorm3Uon ro lcS.mtty tho c;aw:

     U"".n1   .,L,:r.~ Bt~n;ru~lcy   Coon lor tho

      Ewlh<tm O:Wir.t ol FIQrlda

     CM'l numb')r 1 ' - t _ _ _ _ _ _ _ _ _ _ Chaplet 15                                                                                                      0   Check If this is an
                                                                                                                                                                  amended Jiing



 Official Form 401
 Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                                1211s

 II more epac:• It n•edtd, a!Ueh a aep.ualt sheet to this form. On tht top of any •ddltlon;l pages, wrltt dtblor'l name and cnt number (II known).

                                                      Maran~;onr       Tread La~no Amenca Industria o Co~rcio d~ Ar1efatos de Borra':ha Llda.
 1. Debtor's name



 1. Debtor's unique Identifier                      For non~ndlvldual debtors:

                                                            0       FO':lorsl Employer ldentf.c:~:ioo llurr.b9f (EIN)
                                                                             rja!"l   Ro-;~s~-y   o'L.,_al El'l'.t4s of
                                                            !1      o:ne-    ~· llnstry of rr.a-v.e                       . Oe1Q'lb-3~nV.~r   02.551.474 .0001-57

                                                    For Individual dtbtore:

                                                            D       Soci<ll Seamty num~r.                  7».- 7.1- - - - - - - - -

                                                            D       lrY.!Md~al TaxpaY9r ldentJ!"oea~ n•Jmber (ITI~I): 9 n             - xx - _ _ _ _ _ _ __


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 ' - Name of foreign
     representatln( 1)                               Otavio de Paoli Balbino de Almeida Lima

 4     Foreign proceodlng In which
       appointment of the foreign                    Reorgamzatlon Procedure of 1.1arangoni Tread Latino Amecrica Industria e Comerclo
       representative( a) occurred

 s.    Nature of the foreign
                                                    Check on~:
       procee-ding
                                                    ~       Fore:ll'1 main prrxeedi~
                                                    0       Foreig'1 nonma111 proceeding
                                                    0       Forl!1:;n ma·n prcccedorv,j. or in the atemalr~e foreil;n nonma:n pt'oceedirv,j


c. Evidence o1 the foreign                          0       A cerllfoed 00?"/. lla,!llated lt1to ErvJ~~h. or !he c:ed~ commencing the foreign ~"'9 and
   proceeding                                               a;;po:;in~      me l~ei:;n rc;~rev.n'.atr e Is attachc-j_
                                                    D       A cel'!ifo'".ate , 1/atlslated Into Eng~~ h. lrom tl".e fore-<J'l covrt. a!f=~"'J 11>e emtence of the 10fei9n
                                                            prCY.AH!do~ end of the appoin!lr~.,t ot the forei'Jn r~presen:awo. ~ attao:hed .

                                                    li::f   O'.t>er e IY.!~..e ol !111! em:ence of the f:lfe::;n ~~oc.~-:Y,I ond of L'l<! ap;:x)\n!menl clll'.~ leteljn
                                                            repre,e-n:at'V!i os <le~cnc~ b<tl~ll. and relevant doc\llf\enta~. trans13t~ 1111:1 Eng sh. ts a:lael\ed.
                                                            Decis1on commcncmg Lhe foretgn proceeding and order appointing fore ign
                                                            representative

1. Is this the only foreign                         0       flo. (At'..actl a stalemenllderl'Jt(.ng eadl country In vwnich a fO<t»;n prooeecling t:rJ, re-o~. or a;ain1t t'le
      proceeding with respect to                            debtor Is ~ndi~ .)
      the debtor known to the
      foreign representatlve(s)?
                                                    e       Yl!1i




Otro';la! Form 401                                          Chapter 15       Po~tioo       for Recogr-.. Uon ot a Foreogn Prrxeedong                              page1
                                                                                                  c_a•__"_u_m_bo_•_c•_"_-'~-=_-=_-=_-=_-=_-=_-=_-=_-=_-=_-=_-=_-=_-=_-=_-=_-=.-=.-=.-=_-=.-=.-=.-=_- :_
                             Case 19-12070-LMI                           Doc 1            Filed 02/15/19                                 Page 2 of 3
        ' _ _ M_a_r_
 e-bt_o _          a_n_g_o_n_I_
                              T_re
                                 _a_d
                                    _ L_a_t_
                                           In_o_A
                                                _ m_e_r_ic_a_ rn_d_u_s_t_ri_a_e_ c_o_r_______
             """•
-
e. Others entitled to notice             Attach a list containing thCl names and addresses of:
                                         (I)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (II)   all parties to litigation pending In the United Slates In which the debtor Is a party at the lima of filing of this
                                                pollllon, and
                                         (Ill) all antilles against whom provisional reliells being sought under§ 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has tho center of Its                      Debtor'• reglste red office:
                                         main lntoro&ts:


                                        Brazil                                                               KM 01 , LMG-800, Dlstrlto Industrial
                                                                                                             Numt>or  Stroot

                                                                                                              33400·000 (ZIP)
                                                                                                             P.O. Dox

                                                                                                              Lagoa Santa - MG
                                                                                                             CCiy                    SCol o/Pro'l1nCI!IRoglon             ZIPJPol!o'll Code


                                                                                                              Brazil
                                                                                                             Country




                                         Individual debtor's habitual residence :                            Address of foreign representatlve(s):


                                                                                                              Rua Alagoas 1000, sl. 1307 - Funcionario
                                         Number         Slteet                                               Number              Slteet

                                                                                                              30130-160 (ZIP)
                                         P.O. Box                                                            P.O. Box

                                                                                                              Bela Horlzonte - MG
                                         Clly              StateJProvinceiRQ9<0n   ZIP/Po•lal Code           Crty                    Slate/Pro'l1nco!Rcgioo               ZIP/Postal Codo


                                                                                                              Brazil
                                         Counlty                                                             Country




10. Debtor's wobslte (URL)                https://br.marangoni .com/


11.   Type of debtor                     Chock one:

                                         £1     Non-individual (check one):

                                                  1!1   Corporation. Attach a corporate ownership statamonl containing the lnlormoliorl
                                                        described lrl Fed. R. Bankr. P. 7007.1.

                                                  0     Partnership

                                                  0     Other. Specify:---          - - -- -- - - --                                 -    - - - --                    -
                                         0      Individual




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                                    Case 19-12070-LMI                       Doc 1           Filed 02/15/19                   Page 3 of 3
                Marangonl Tread Latino America Industria e Cor                                   Casenymber ,.,._.,,_ _ _ _ _ _ _ _ _ _ _ __
                N...,.




12 • Why    Is venue proper In lhls    Check one:
   district?                           !::1     Debtor's principal place of busln!!ss or principal assets In th~ Unlled States are In this district.
                                       0        Debtor does not havo o pta co of business or assets In th~ United Slates, but the folloWing
                                                oction or proceeding In a federal or state courlls pending against the debtor In thiS d1stnc:t:


                                       0        II neither bo~ Is checked, venue Is consistent with the Interests of justice and the convenience
                                                of the partlos. having regard to the relief sought by the foreign ropresentative, because:


   --- ------~==================~------
13.   Signature of foreign              I request relief in accordance with chapter 15 of Iitle 11, United States Code.
      represontatlve(s)
                                        I am \he foreign representative of a debtor in a foreign proceeding. the debtor Is eligible for the
                                        relief sought In this petition, and 1am authorized to file this petition.

                                         I have examined tho Information In this petlllon and have a reasonable belief that the
                                         Information Is true and correct.

                                         I declare under penalty of pe~ury that the foregoing Is true and correct,

                                                                                                          Otavio de Paoli Balbi no de Almeida Lima
                                                                                                          Printed name




                                              x~ek? ;1/!.u(&t l~                                          Printed name
                                                 Signature of rore1g representative


                                              Executed on




      1~.   Signature of attorney             .)( lsi Grrgory Grossma11                                   Date
                                                  Signature of Attomey for foreign representolive

                                                 Gregory S . Grossman
                                                 Prv>lodna""'
                                                 Seguor Law
                                                  Firm   na,.
                                                 1001 Brickell Bay Drive, 9lh Floor
                                                  Number        SlrHl
                                                 Mlaml                                                      FL            33131
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                                                  (305) 372-8202                                              ggrossman@seguorlaw.com
                                                  Conlllcl phone                                              Emai eddtost



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                                                  Brrnumbor                                                   SUit




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